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    Exhibit K
       Case 1:18-cr-00340-LGS Document 122-11 Filed 05/20/19 Page 2 of 2
                                         U.S. Department of Justice
[Type text]
                                                      United States Attorney
                                                      Southern District of New York
                                                      The Silvio J. Mollo Building
                                                      One Saint Andrew’s Plaza
                                                      New York, New York 10007

                                                      January 15, 2019


BY FEDEX

Gennaro Cariglio Jr. P.L.                             Paul Petruzzi
8101 Biscayne Blvd.                                   Law Offices of Paul Petruzzi, P.A.
Penthouse 701                                         8101 Biscayne Blvd., PH-701
Miami, FL 33138                                       Miami, FL 33138

Joseph A. Bondy, Esq.
The Law Offices of Joseph A. Bondy
1841 Broadway, Suite 910
New York, N.Y. 10023

       Re:      United States v. Sohrab Sharma et al., 18 Cr. 340 (LGS)

Dear Counsel:

       We write to provide additional discovery pursuant to Rule 16(a) of the Federal Rules of
Criminal Procedure and to request reciprocal discovery. The Rule 16(a) discovery materials
provided herein are subject to the protective order entered by the Court in this case.

       Based on your request for discovery in this case, we are producing the following materials:

                       Overview and Description of Selected
    Source                                                                 Bates Range
                                     Documents
                  Results pursuant to a search warrant relating to six
    Slack           Slack.com workspaces: centratech.slack.com,
 Technologies,     Centra-tech.slack.com, centraadmin.slack.com,       USAO-SDNY-00012095
     Inc.          Centrateam.slack.com, Centrateaml.slack.com,
                              and centrawork.slack.com


                                               Very truly yours,

                                               ROBERT KHUZAMI
                                               Attorney for the United States
                                               Acting Under 28 U.S.C. § 515

                                         By:      /s/
                                               Samson Enzer / Negar Tekeei
                                               Assistant United States Attorneys
                                               (212) 637-2342 / -2482
